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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   DAYTON DIVISION




       STATE OF ARIZONA, et al.

               Plaintiffs,

       v.                                                   Case No. 3:21cv00314
                                                            The Honorable Michael J. Newman
       JOSEPH R. BIDEN, et al.

               Defendants.



               EMERGENCY MOTION FOR AN ADMINISTRATIVE STAY

       Earlier today, the Court entered a multi-part nationwide injunction against a

memorandum issued by the Secretary of Homeland Security. Defendants are currently reviewing

and interpreting the Court’s written opinion and determining Defendants’ obligations under the

Court’s injunction.

       Complying with the Court’s injunction will, at the least, require a shift in the way that

DHS has been operating for the past several months. It will, at the least, require Defendants to

develop and disseminate usable operational guidance to the approximately 12,000 immigration

officers within U.S. Immigration and Customs Enforcement. Defendants therefore respectfully

request that the Court enter a two-week administrative stay of its order, so that Defendants may

implement the injunction in an orderly fashion and potentially seek further relief, such as

clarification or a motion for stay pending appeal, from this Court or other courts, as necessary. If

Defendants elect to move for a stay or other relief before this Court, they will do so as soon as

possible. Plaintiffs oppose this motion.
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       Defendants respectfully request that the Court rule on Defendants’ motion for a two-week

administrative stay as soon as possible.



Dated: March 22, 2022                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on March 22, 2022.


                                                           /s/ Michael F. Knapp
                                                           MICHAEL F. KNAPP
